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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-105 (JMC)
Vv. :
HENRY PHILLIP MUNTZER : VIOLATIONS:
(a/k/a “HANK MUNTZER”) > 18 U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
Defendant. : 18U.S.C. § 231(a)(3)
: (Civil Disorder)

:  18U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
:  (Parading, Demonstrating, or Picketing in
: a Capitol Building)

SUPERSEDING INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, HENRY
PHILLIP MUNTZER, also known as “HANK MUNTZER,” attempted to, and did, corruptly
obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress,

specifically, Congress’s certification of the Electoral College vote as set out in the Twelfth

Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.
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(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, HENRY PHILLIP
MUNTZER, also known as “HANK MUNTZER,” committed and attempted to commit an act
to obstruct, impede, and interfere with a law enforcement officers, that is, officers from the
Metropolitan Police Department, lawfully engaged in the lawful performance of their official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, HENRY PHILLIP MUNTZER,
also known as “HANK MUNTZER,” did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1)) |

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, HENRY PHILLIP MUNTZER,
also known as “HANK MUNTZER,” did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and disruptive

conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
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cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, HENRY PHILLIP MUNTZER,
also known as “HANK MUNTZER,” willfully and knowingly engaged in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings
with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and
either House of Congress, and the orderly conduct in that building of a hearing before or any
deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about January 6, 2021, in the District of Columbia, HENRY PHILLIP MUNTZER,
also known as “HANK MUNTZER,” willfully and knowingly paraded, demonstrated, and
picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
